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Debtor 1: NANCY S LEAHY

Debtor 2:
(Spouse, if filing)

United States Bankruptcy Court for the :Western District of Michi

Case Number 19-02955
(if knovin)

Official Form 427
Cover Sheet for Reaffirmation Agreement 12/16

Anyone who is a party to a reaffirmation agreement may fill out and file this form. Fill it out completely, attach it to the reaffirmation agreement,
and file the documents within the time set under Bankruptcy Rule 4008.

(State)

 

 

a | Explain the Repayment Terms of the Reaffirmation Agreement
1. Who is the Creditor? ONEMAIN FINANCIAL GROUP, LLC

Name of the creditor
AS SERVICER FOR ONEMAIN DIRECT AUTO RECEIVABLES TRUST 2017-2

 

 

 

Other names the creditor used with the debtor

 

 

2. How much is the debt? On the date that the bankruptcy case is filed  $ 6534.00
To be paid under the reaffirmation agreement $ 3000.00
$ 85.00 per month for_42 months (If fixed interest rate)

 

3. What is the Annual
Percentage Rate (APR)
of interest?

Before the bankruptcy case was filed _26 .02 %

 

(See Bankruptcy Code Under the reaffirmation agreement _10.00% Fixed Rate
624(k)}(3)(E).
§ 624(k)(3)(E).) [__] Adjustable Rate
4. Does the collateral {] No

secure the debt?
[X] Yes. Describe the collateral. 2011 KIA FORTE

Current market value $ 6800.00

5. Does the creditor No
assert that the debt
is nondischargeable? [| Yes. Attach an explanation of the nature of the debt and the basis for contending that the
debt is nondischargeable.

 

 

 

6. Using information Income and expenses reported on Schedules | and Income and expenses stated on the reaffirmation

from Schedule 1: J. agreement
Your Income (Official 6a. Combined monthly income 6e. Monthly income from all sources Z| > z
Form 1061) and from line 12 of Schedule | $ 3, 1% 123 after payroll deductions $7) £4.
Schedule J: Your 6b
Expenses (Official - Monthly expenses from ac. 0
Form 1064), fill in line 22c of Schedule J —$ 4 Ob v0 6f. Monthly Expenses —$ 2. § {2- 0
the amounts. 6c. Monthly payments on all 6g. Monthly payments on all

reaffirmed debts not listed 6- reaffirmed debts not included OQ

on Schedule J —$ in monthly expenses -

6d. Scheduled net monthly 6h. Present net monthly

income $ 129.29 _ income $ 377.22

Subtract lines 6b and 6c from 6a. Subtract lines 6f and 6g from 6e.

If the total is less than 0, put If the total is less than 0, put

the number in brackets. the number in brackets.

 

 

Please be advised that if a Reaffirmation Agreement extends the original maturity date of this account, such agreement wili not extend the terms
of any credit insurance written in connection with this account or covering any property securing this account. The terms of your credit
insurance (including its expiration date and benefit amount payable for a covered loss) remain the same as written in your insurance certificate
or poticy.

Unless additional insurance is procured by borrower(s) at his own expense, such insurance will expire no later than the date and at the time set
forth in that insurance policy or certificate.

 

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Debtor1 NANCY S LEAHY

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Case Number 19-~02955
(If known)

f-

 

7.

Are the income
amounts on lines
6a and 6e different?

(Ano

(| Yes. Explain why they are different and complete line 10.

 

 

 

. Are the expense

amounts on lines
6b and 6f different?

LJ Ne Reathrmahor

[A ves. Explain why they are different and complete line 10. An reeyaey tye A wu ces
Wontly car pry weat from “$24? to #85

 

 

 

 

 

 

represent the
debtor in
negotiating the
reaffirmation
agreement?

9. Is the net monthly [No
income in line 6h
less than 0? [| Yes. A presumption of hardship arises (unless the creditor is a credit union).
Explain how the debtor will make monthly payments on the reaffirmed debt and pay other
living expenses. Complete line 10.
10. Debtor's certification
about lines 7-9 | certify that each explanation on lines 7-9 is true and correct.
If any answer on
lines 7-9 is Yes, the
debtor must sign =
here. X -, 2 en A - X
Signature of Debio! NS) \ Signature of Debtor 2 (Spouse Only in a Joint Case)
If all the answers on ; ,
lines 7-9 are No, go
to line 11.
11. Did an attorney

[] No
(Wes. Has the attorney executed a declaration or an affidavit to support the reaffirmation agreement?

[] No

Yes

 

 

 

Sign Here

Whoever fills out this form
must sign here.

| certify that the attached agreement is a true and correct copy of the reaffirmation
agreement between the parties identified on this Cover Sheet for Reaffirmation Agreement.

x vvlule a Sun owe [13/2019

Signature MM/OD/ YYYY

Kim bérvly lL. Savage

Printed Name

Chegk One:
Debtor or Debtor's Attorney

[| Creditor or Creditor's Attorney

 

 

UMA

UNCCA2 (06-10-18) Cover Siar ler Realirmation Agreement

 

WU

A

 

 

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Form 2400A (12/15)

Check one.
C] Presumption of Undue Hardship
No Presumption of Undue Hardship
See Debtor's Statement in Support of Reaffirmation,
Part II below, to determine which box to check.
UNITED STATES BANKRUPTCY COURT
Western District Of michigan
Inre NANCY S LEAHY ' Case No. 19-02955
Debtor
Chapter 7
Joint Debtor

REAFFIRMATION DOCUMENTS

Name of Creditor: ONEMAIN FINANCIAL GROUP, LLC
AS SERVICER FOR ONEMAIN DIRECT AUTO RECEIVABLES TRUST 2017-2

 

 

 

Check this box if Creditor is a Credit Union

 

PART |. REAFFIRMATION AGREEMENT

Reaffirming a debt is a serious financial decision. Before entering into this Reaffirmation Agreement,
you must review the important disclosures, instructions, and definitions found in Part V of this form.

A. Brief description of the original agreement being reaffirmed:
2011 KIA FORTE _
For example, auto loan
B. AMOUNT REAFFIRMED: $ 3000.00

The Amount Reaffirmed is the entire amount that you are agreeing to pay. This may include
unpaid principal, interest, and fees and costs (if any) arising on or before 11/07/19, which is
the date of the Disclosure Statement portion of this form (Part V).

See the definition of “Amount Reaffirmed’ in Part V, Section C below.

C. The ANNUAL PERCENTAGE RATE applicable to the Amount Reaffirmed is 10.00 %.
See definition of “Annual Percentage Rate” in Part V, Section C below.
This is a (check one) Fixed rate [ ] Variable rate

If the loan has a variable rate, the future interest rate may increase or decrease from the Annual Percentage
Rate disclosed here. .

i

 

(08-10-18) Reaffirmation Agr
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Form 2400A, Reaffirmation Documents Page 2

D. Reaffirmation Agreement Repayment Terms (check and complete one):

 

X| $ 85.00 per month for_42_ months starting on 12/01/19.

 

 

 

 

Describe repayment terms, including whether future payment amount(s) may be different from the
initial payment amount.

 

E. Describe the collateral, if any, securing the debt:

 

 

 

 

Description: 2011 KIA FORTE
Current Market Value $ 6800.00
F, Did the debt that is being reaffirmed arise from the purchase of the collateral described above?
Yes. Whatwas the purchase price for the collateral? $
X | No. What was the amount of the original loan? $7859.61

 

 

 

G. Specify the changes made by this Reaffirmation Agreement to the most recent credit terms on the reaffirmed
debt and any related agreement:

 

Terms as of the Terms After
Date of Bankruptcy Reaffirmation
Balance due (including
fees and costs) $__ 6534.00. $___3000.00
Annual Percentage Rate 26.02, % —10.00%
Monthly Payment $248.47 $___ 85.00
H. Check this box if the creditor is agreeing to provide you with additional future credit in connection with

 

 

 

this Reaffirmation Agreement. Describe the credit limit, the Annual Percentage Rate that applies to
future credit and any other terms on future purchases and advances using such credit:

PART Il. DEBTOR’S STATEMENT IN SUPPORT OF REAFFIRMATION AGREEMENT

A. Were you represented by an attorney during the course of negotiating this agreement?

Check one. [7] Yes [ ] No

B. Is the creditor a credit union?

 

 

 

 

 

 

 

Check one. Yes v No

 

 

Ca cc

 
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Form 2400A, Reaffirmation Documents Page 3

C. If your answer to EITHER question A. or B. above is “No,” complete 1. and 2. below.

1. Your present monthly income and expenses are:

2.

a. Monthly income from all sources after payroll deductions 2 )84,22
(take-home pay plus any other income) $_7,'0 tt =:
b. Monthly expenses (including all reaffirmed debts except this one) $2,812.00
c. Amount available to pay this reaffirmed debt (Subtract b. from a.) ¢_ 777123
d. Amount of monthly payment required for this reaffirmed debt $__ 95.00

ifthe monthly payment on this reaffirmed debt (line d.) is greater than the amount you have available to
pay this reaffirmed debt (line c.), you must check the box at the top of page one that says “Presumption
of Undue Hardship.” Otherwise, you must check the box at the top of page one that says “No
Presumption of Undue Hardship.”

You believe that this reaffirmation agreement will not impose an undue hardship on you or your

dependents because:

Check one of the two statements below, if applicable:

 

v

 

 

 

You can afford to make the payments on the reaffirmed debt because your monthly income is

greater than your monthly expenses even after you include in your expenses the monthly payments on
all debts you are reaffirming, including this one.

 

 

 

 

You can afford to make the payments on the reaffirmed debt even though your monthly income is

less than your monthly expenses after you include in your expenses the monthly payments on all debts
you are reaffirming, including this one, because:

Use an additional page if needed for a full explanation.

D. If your answers to BOTH questions A. and B. above were “Yes,” check the following statement, if applicable:

[ ] You believe this Reaffirmation Agreement is in your financial interest and you can afford to make the

payments on the reaffirmed debt.

Also, check the box at the top of page one that says “No Presumption of Undue Hardship."

KC |

 
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Forms 2400A, Reaffirmation Documents Page 4
PART Ill. CERTIFICATION BY DEBTOR(S) AND SIGNATURES OF PARTIES
| hereby certify that:

(1) | agree to reaffirm the debt described above.

(2) Before signing this Reaffirmation Agreement, | read the terms disclosed in this Reaffirmation
Agreement (Part !) and the Disclosure Statement, Instructions and Definitions included in Part
V below;

(3) The Debtor's Statement in Support of Reaffirmation Agreement (Part II above) is true and complete;

(4) | am entering into this agreement voluntarily and am fully informed of my rights and
responsibilities; and

(5) ‘| have received a copy of this completed and signed Reaffirmation Documents form.

SIGNATURE(S) (If this is a joint Reaffirmation Agreement, both debtors must sign.):

Date iv Nig Signature \ Socal

i) Debtor

Date Signature

 

Joint Debtor, if any

Reaffirmation Agreement Terms Accepted by Creditor:

Creditor OneMain
PO Box 3251
Evansville, IN 47731-3251

BRANDY RUCKER
rint Name of Representative

 
 
 

Ln 1 19

Signature Date

PART IV. CERTIFICATION BY DEBTOR’S ATTORNEY (IF ANY)
To be filed only if the attorney represented the debtor during the course of negotiating this agreement

| hereby certify that: (1) this agreement represents a fully informed and voluntary agreement by the debtor;
(2) this agreement does not impose an undue hardship on the debtor or any dependent of the debtor; and (3)
| have fully advised the debtor of the legal effect and consequences of this agreement and any default under
this agreement.

[ ] A presumption of undue hardship has been established with respect to this agreement. In my opinion,
however, the debtor is able to make the required payment.

check box, if the presumption of undue hardship box is checked on page 1 and the creditor is not a Credit
inion.

Date ili Signature of Debtor's Attorney Ke mabe bey a Src

Print Name of Debtor's Attorney

CA on Agreement

 

 

 
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Forms 2400A, Reaffirmation Documents Page 5

PART V. DISCLOSURE STATEMENT AND INSTRUCTIONS TO DEBTOR(S)

Before agreeing to reaffirm a debt, review the terms disclosed in the Reaffirmation Agreement (Part |
above) and these additional important disclosures and instructions.

Reaffirming a debt is a serious financial decision. The law requires you to take certain steps to make sure
the decision is in your best interest. If these steps, which are detailed in the Instructions provided in Part V,
Section B below, are not completed, the Reaffirmation Agreement is not effective, even though you have signed

it.

A.

 

DISCLOSURE STATEMENT

What are your obligations if you reaffirm a debt? A reaffirmed debt remains your personal legal
obligation to pay. Your reaffirmed debt is not discharged in your bankruptcy case. That means that if
you default on your reaffirmed debt after your bankruptcy case is over, your creditor may be able to take
your property or your wages. Your obligations will be determined by the Reaffirmation Agreement, which
may have changed the terms of the original agreement. If you are reaffirming an open end credit
agreement, that agreement or applicable law may permit the creditor to change the terms of that
agreement in the future under certain conditions.

Are you required to enter into a reaffirmation agreement by any law? No, you are not required to
reaffirm a debt by any law. Only agree to reaffirm a debt if it is in your best interest. Be sure you can
afford the payments that you agree to make.

What if your creditor has a security interest or lien? Your bankruptcy discharge does not eliminate
any lien on your property. A “lien” is often referred to as a security interest, deed of trust, mortgage, or
security deed. The property subject to a lien is often referred to as collateral. Even if you do not reaffirm
and your personal liability on the debt is discharged, your creditor may still have a right under the lien to
take the collateral if you do not pay or default on the debt. If the collateral is personal property that is
exempt or that the trustee has abandoned, you may be able to redeem the item rather than reaffirm the
debt. To redeem, you make a single payment to the creditor equal to the current value of the collateral,
as the parties agree or the court determines.

How soon do you need to enter into and file a reaffirmation agreement? If you decide to enter into
a reaffirmation agreement, you must do so before you receive your discharge. After you have entered
into a reaffirmation agreement and all parts of this form that require a signature have been signed, either
you or the creditor should file it as soon as possible. The signed agreement must be filed with the court
no later than 60 days after the first date set for the meeting of creditors, so that the court will have time
to schedule a hearing to approve the agreement if approval is required. However, the court may extend
the time for filing, even after the 60-day period has ended.

Can you cancel the agreement? You may rescind (cancel) your Reaffirmation Agreement at any time
before the bankruptcy court enters your discharge, or during the 60-day period that begins on the date
your Reaffirmation Agreement is filed with the court, whichever occurs later. To rescind (cancel) your
Reaffirmation Agreement, you must notify the creditor that your Reaffirmation Agreement is rescinded
(or canceled). Remember that you can rescind the agreement, even if the court approves it, as long as
you rescind within the time allowed.

 
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Form 2400A, Reaffirmation Documents Page 6

6. When will this Reaffirmation Agreement be effective?

a. If you were represented by an attorney during the negotiation of your Reaffirmation Agreement
and

i. if the creditor is not a Credit Union, your Reaffirmation Agreement becomes effective when
it is filed with the court unless the reaffirmation is presumed to be an undue hardship. If the
Reaffirmation Agreement is presumed to be an undue hardship, the court must review it and
may set a hearing to determine whether you have rebutted the presumption of undue hardship.

ii. If the creditor is a Credit Union, your Reaffirmation Agreement becomes effective when it is
filed with the court.

b. if you were not represented by an attorney during the negotiation of your Reaffirmation
Agreement, the Reaffirmation Agreement will not be effective unless the court approves it. To have the
court approve your agreement, you must file a motion. See Instruction 5, below. The court will notify
you and the creditor of the hearing on your Reaffirmation Agreement. You must attend this hearing, at
which time the judge will review your Reaffirmation Agreement. if the judge decides that the
Reaffirmation Agreement is in your best interest, the agreement will be approved and will become
effective. However, if your Reaffirmation Agreement is for a consumer debt secured by a mortgage,
deed of trust, security deed, or other lien on your real property, like your home, you do not need to file a
motion or get court approval of your Reaffirmation Agreement.

7. What if you have questions about what a creditor can do? If you have questions about reaffirming a
debt or what the law requires, consult with the attomey who helped you negotiate this agreement. If you
do not have an attorney helping you, you may ask the Judge to explain the effect of this agreement to
you at the hearing to approve the Reaffirmation Agreement. When this disclosure refers to what a
creditor “may” do, it is not giving any creditor permission to do anything. The word “may” is used to tell
you what might occur if the law permits the creditor to take the action.

B. INSTRUCTIONS

1. Review these Disclosures and carefully consider your decision to reaffirm. If you want to reaffirm, review
and complete the information contained in the Reaffirmation Agreement (Part | above). If your case is a
joint case, both spouses must sign the agreement if both are reaffirming the debt.

2. Complete the Debtor’s Statement in Support of Reaffirmation Agreement (Part II above). Be sure that
you can afford to make the payments that you are agreeing to make and that you have received a copy
of the Disclosure Statement and a completed and signed Reaffirmation Agreement.

3. If you were represented by an attomey during the negotiation of your Reaffirmation Agreement, your
attorney must sign and date the Certification By Debtor's Attorney (Part IV above).

4. You or your creditor must file with the court the original of this Reaffirmation Documents packet and a
completed Reaffirmation Agreement Cover Sheet (Official Bankruptcy Form 427).

5. If you are not represented by an attomey, you must also complete and file with the court a separate
document entitled “Motion for Court Approval of Reaffirmation Agreement" unless your Reaffirmation
Agreement is for a consumer debt secured by a lien on your real property, such as your home. You can
use Form 2400B to do this.

IO |

 
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Form 2400A, Reaffirmation Documents Page 7

Cc. DEFINITIONS

1. “Amount Reaffirmed” means the total amount of debt that you are agreeing to pay (reaffirm) by
entering into this agreement. The total amount of debt includes any unpaid fees and costs that you are
agreeing to pay that arose on or before the date of disclosure, which is the date specified in the
Reaffirmation Agreement (Part |, Section B above). Your credit agreement may obligate you to pay
additional amounts that arise after the date of this disclosure. You should consult your credit agreement
to determine whether you are obligated to pay additional amounts that may arise after the date of this
disclosure.

2. “Annual Percentage Rate” means the interest rate on a loan expressed under the rules required by
federal law. The annual percentage rate (as opposed to the “stated interest rate") tells you the full cost of
your credit including many of the creditor's fees and charges. You will find the annual percentage rate for
your original agreement on the disclosure statement that was given to you when the loan papers were
signed or on the monthly statements sent to you for an open end credit account such as a credit card.

3. “Credit Union” means a financial institution as defined in 12 U.S.C. § 461(b)(1)(A)(iv). It is owned and
controlled by and provides financial services to its members and typically uses words like “Credit Union”
or initials like “C.U." or “F.C.U.” in its name.

IA

ICRD7 (06-10-18) Reaffirmation Agreement

 
